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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION

UNITED STATES OF AMERICA                       )
                                               )
              v.                               )           CR 118-029
                                               )
GLORIA OKOLIE                                  )
PAUL WILSON AISOSA                             )
                                          _________

                                          ORDER
                                          _________

       Before the Court are various pretrial motions filed by the parties. Assuming that the

government has followed its customary liberal discovery policy in this case, many (if not all)

of the routine discovery motions may be satisfied without the need for Court intervention.

The Court will conduct a hearing to consider any motions that the parties have not been able

to resolve. Accordingly, the Court DIRECTS defense counsel and the government to file a

joint status report by August 20, 2018, that states whether all pretrial motions have been

satisfied or otherwise resolved. Any unresolved motions requiring a ruling by the Court

must be listed by title and docket number. For the convenience of the parties, the Court has

attached to this Order two sample formats for the joint status report.

       The Court will require attendance at a hearing on any motion listed as unresolved and

may require supplemental briefing prior to such hearing.         The parties should only list

motions over which the parties disagree. Motions not listed will be deemed resolved or

waived.

       SO ORDERED this 8th day of August, 2018, at Augusta, Georgia.
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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     AUGUSTA DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       CR 118-xxx
                                               )
DEFENDANT A                                    )
                                   _______________________

                                   JOINT STATUS REPORT
                                   _______________________

       The United States of America, through the undersigned Assistant United States

Attorney, and Defendant, through his attorney, state that all pretrial motions have been

satisfied or otherwise resolved.

       This ____ day of _________________________, 2018, at Augusta, Georgia.



                                           /s/   Assistant United States Attorney



                                           /s/   Defense Counsel




                                         EXHIBIT A
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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )       CR 118-xxx
                                            )
DEFENDANT A                                 )
                                _______________________

                                JOINT STATUS REPORT
                                _______________________

       The United States of America, through the undersigned Assistant United States

Attorney, and Defendant, through his attorney, state that they have not been able to resolve

the following pretrial motion(s) and will require a ruling from the Court to settle the actual

controversy or dispute:

       ●      Motion to Suppress                  Doc. no. 8

       ●      Motion for Severance                Doc. no. 10

       We understand that the Court will require attendance at a hearing on any listed motion

and may require supplemental briefing prior to such hearing. We also understand that we

will be required to explain to the Court what steps were taken to attempt to resolve the

motion(s) without Court intervention.

       This ____ day of _________________________, 2018, at Augusta, Georgia.

                                           /s/    Assistant United States Attorney

                                           /s/    Defense Counsel


                                        EXHIBIT B
